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      In the United States Court of Federal Claims
                                    No. 15-1245C
                               (Filed March 20, 2018)

* * * * * * * * * * * * * * * * * *
                                  *
ESTATE OF ERNEST                  *
GOTTDIENER, et al.,               *
                                  *
                 Plaintiffs,      *
                                  *
      v.                          *
                                  *
THE UNITED STATES,                *
                                  *
                 Defendant.       *
                                  *
* * * * * * * * * * * * * * * * * *


                                      ORDER

       During the most recent status conference, plaintiffs’ counsel indicated that he
intended to file a motion for leave to file a supplemental brief concerning an aspect
of the oral argument in Carpenter v. United States, No. 16-402, currently pending
before the Supreme Court. Neither that motion nor a brief has been received by the
Court. Plaintiffs shall file their motion for leave on or by Tuesday, April 10, 2018.
If plaintiffs no longer intend to file such a motion, they shall inform Court on or by
that date.



IT IS SO ORDERED.


                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Judge
